                     Case 1:01-cr-05359-AWI Document 209 Filed 10/23/07 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
           STEVEN ANTHONY GROTE
                      (Defendant’s Name)                                  Criminal Number: 1:01CR05359-003


                                                                          SAL SCIANDRA
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) ONE as alleged in the violation petition filed on August 10, 2007 .
[]  was found in violation of condition(s) of supervision as to charge(s)    after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
One                                  Use of Controlled Substance                             August 7, 2007




The court: [ ] revokes: [ ] modifies: [U] continues under same conditions of supervision heretofore ordered on January 16, 2007 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge(s) two is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                               10/22/07
                                                                                    Date of Im position of Sentence




                                                                                      Signature of Judicial Officer


                                                                          ANTHONY W . ISHII, United States District Judge
                                                                                Nam e & Title of Judicial Officer




                                                                                                  Date
                     Case 1:01-cr-05359-AWI Document 209 Filed 10/23/07 Page 2 of 3
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                1:01CR05359-003                                                                             Judgment - Page 2 of 3
DEFENDANT:                  STEVEN ANTHONY GROTE


                                                 SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 30 months .
With all previously ordered conditions in effect with added conditions

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                    Case 1:01-cr-05359-AWI Document 209 Filed 10/23/07 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               1:01CR05359-003                                                           Judgment - Page 3 of 3
DEFENDANT:                 STEVEN ANTHONY GROTE


                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall reside and participate in a residential drug treatment program, Westcare
              Inc., in Fresno, CA for a period of 30 days: said placement shall commence upon his release
              from custody of the Bureau of Prisons and as directed by the probation officer. The defendant
              shall pay all costs associated with the residential drug treatment program.

         2. Upon successful discharge of Westcare, Inc. Residential treatment program, the defendant shall
            participate in a transitional living program approved by the probation officer, for a period of 150
            days. The defendant shall pay all costs associated with the transitional living program.
